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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       WESTERN DIVISION


UNITED STATES OF AMERICA                                          PLAINTIFF


v.                     Case No. 4:10-cr-134-02-DPM


DARYL SHANE SMITH                                               DEFENDANT


                                   ORDER

      On further reflection, the Court concludes that the fine imposed is too

big. The Court failed to give adequate weight to Smith's prompt payment of

his back taxes to the IRS, as well as all interest and all back state taxes. The

Court therefore modifies its sentence and judgment pronounced yesterday:

the fine component of a just and appropriate sentence for Smith, 18 U.S.C. §

3553(a), is $60,000.00. For the reasons stated at the hearing, an upward

departure or variance is needed in the fine. But the Court went too far in the

$100,000.00 amount. The Court's Judgment and Commitment Order will

therefore include the $60,000.00 amount.
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So Ordered.


                            D.P. Marshall Jr.
                            United States District Judge




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